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                 Exhibit 13
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                                  Aaron Etra / INDEVA

                                         CV for Aaron Etra

                                        Profile for INDEVA

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    Mr. Etra is an attorney and businessman who has practiced, taught and engaged in Law,
    Business, Trade, Development and International Organizational Affairs in the U.S., U.K.,
    Switzerland, the Netherlands and Africa.

    He holds a J.D. degree from Columbia University, a LL.M. from New York University and a
    B.A. from Yale University. He was a founding Lecturer on Law at the Institute of Public
    Administration and Member of the Senate of the University of Malawi.




    His public service activities include having been Membre du Cabinet of the Director-General
    of the International Labor Organization, founding Chair of the African Affairs Committee of
    the Association of the Bar of the City of New York, Vice-Chair of the United Nations NGO/DPI
    Executive Committee, Vice-Chair of the Council on UN Affairs of B’nai B’rith International, an
    officer of the UN CoNGO Committees on Human Rights and on Sustainable Development,
    serving on the President’s Council of the Sea Research Foundation and the International

    Boards of Governors of the Technion-Israel Institute of Technology (which awarded him an
    Honorary Fellowship) and the Bezalel Academy of Arts & Design in Jerusalem.




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    National Council of the United Nations Association of the U.S.A. (UNA-USA), a Vice-
    President of the World Council of Peoples for the United Nations (WCPUN) and a
    Representative at the UN of the Mexican Academy of International Law (Academia Mexicana
    de Derecho Internacional) and the WCPUN.




    In real estate, Aaron is President & CEO of INDEVA Corporation, has been Chairman of the
    Palm Beach, Florida International Cooperation Council, Vice-Chairman of the Investment

    Committee of the General Partner of Berkley Asset Fund I, L.P. and a Member of the Zoning
    and Design Committee of the Real Estate Board of New York.




     Aaron has been active in Biotechnology for many years, being a co-founder of the
    Molecutec Group- which includes PhV Corporation (of which he has been Chairman) an

   Molecutec LLC (of which he has been Managing Director). He is the Director of the Global

   Health Collaborations Association (GHCA), the International Conferences for Novel

   Diagnostics and Affordable Treatments (ICNODAT), the International Council of ICMAN (the
   International Conferences on Mechanisms of Action of Nutraceuticals) and co-Founder,
   Secretary-Treasurer and a Director of the Institute for Life Sciences Collaboration (ILSC).
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       Contact Details-


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       Mailing Address: P.O. Box 4034
       New York, NY 10163

       Skype: indeva




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                      Investors & Developers Associates Inc. (“INDEVA”)
 INDEVA is a New York corporation established in 1981 by Aaron Etra and associates. INDEVA
 and its subsidiaries, principals, affiliates and correspondents are engaged in real estate
 development, brokerage, management, marketing and consultancy as well as project
 development, management and advisory services in a wide-range of business, commerce and
 finance activities for the private and public sectors.

 The primary focus for the property development activities of INDEVA is New York City, but the
 firm and its principals and associates have also been involved in projects in Albany, New York,
 Philadelphia, Pennsylvania, Charleston, South Carolina, Haywood County, North Carolina,
 Franklin, Connecticut and Houston County, Georgia as well as internationally. A brief description
 of INDEVA real estate activities and background information on Mr. Etra follows.

 INDEVA’s own projects have involved equity investments by both individuals and entities from
 throughout the U.S.A. and a number of other countries. Typically, an INDEVA subsidiary or its
 principals have served as General Partners of a limited partnership or as the officers and directors
 of a corporation formed especially for the venture. INDEVA's role as a merchant developer
 offers investors the opportunity to participate in one or a series of its ventures.

 INDEVA also provides expertise to investors (both individual and institutional), owners (both
 entities and individuals) and organizations (in the private and public sectors) in locating,
 acquiring, renovating, operating and marketing properties and organizing and managing projects
 and ventures. These consulting services are made available for individual transactions or as part
 of a continuing relationship. INDEVA has been a pioneer in developing novel approaches,
 structures and relationships to achieve the best results from real estate and business opportunities.

 INDEVA has been actively involved in international technology transfer, linking the expertise
 and related skills of the developers of processes and other innovations with the resources of
 capital, management and marketing. INDEVA brings its expertise as principals as well as
 advisors to each project. Continuing activities involve U.S. and European commercial and
 industrial interests married with technology from the U.S. and Israel among other sources.
 INDEVA is also engaged in satisfying the needs of emerging markets for appropriate goods and
 services and has been particularly active in Israel and the Palestinian areas, the Russian Republic
 of Tatarstan, Sharjah (U.A.E.), Southeast Asia and Africa.

                                    PRINCIPALS & ASSOCIATES

 Aaron Etra has been a practicing lawyer since 1966. His specialization is in the establishment
 and representation of overseas interests in the United States as well as international transactions.

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 In addition to his prior legal work in New York and London, Mr. Etra has served with the United
 Nations in Geneva, Switzerland and has taught in New York and Africa. He is a graduate of Yale
 University with a B.A. degree and of Columbia University and New York University with a J.D.
 and LL.M. degree, respectively. Mr. Etra is a shareholder, director and the President/CEO of
 INDEVA. His business activities have ranged widely, serving as a principal and/or advisor to
 industrial, commercial and financial enterprises. Mr. Etra takes an active role in the New York
 professional, civic, artistic and educational communities. He is a member of the Real Estate
 Board of New York, the Association of the Bar of the City of New York and their committees.

 He serves as a director and officer of a number of philanthropic organizations and business
 corporations in the U.S. and overseas and as a representative of a Non-Governmental
 Organization at the U.N.

 INDEVA works closely with associated persons and firms around the world and has access to
 sources of services both local to a particular market and from outside sources. Its activities have
 generated this cooperative approach to project and asset management which combines
 international and local expertise. Providing these managerial, consulting and advisory services to
 projects as well as ventures of all kinds has been undertaken in the U.S., Europe, Australia, the
 Middle East, Asia and Africa.

                                  U.S. and CARIBBEAN PROJECTS

 A. Development

 Upper West Associates Inc., 516-18 West 143rd Street, New York, New York - A 60,000 sq.
 ft. apartment building on the Upper West Side of Manhattan containing 37 apartments. Purchased
 for $235,000 ($35,000 cash, $200,000 purchase money mortgage). The building was upgraded
 and rented as lower income housing and was sold for $370,000.

 775 Riverside Associates, Upper Drive Associates, New York, New York - General partners in
 limited partnership owning two buildings which were purchased comprising 135 apartments and
 a garage for 100 cars. Acquisition cost of $880,000 ($625,000 cash, $255,000 First Mortgage).
 Rent strike settled, renovation begun. The project was sold for $1,487,500 (all cash).

 Greenwich Development Associates, 500 Greenwich Street, New York, New York - A 65,000
 sq. ft. six story warehouse building was purchased for conversion to commercial space. Property
 acquired for $2,350,000. Equity of $2,250,000 committed and a $3,300,000
 acquisition/renovation loan obtained. Renovations completed and a condominium offering plan
 implemented under which sales of commercial and retail space were made at $125/$175 per sq.
 ft. (for a total realized value in excess of $9.5 million)

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 1201-1211 Locust Street Associates, Philadelphia, Pennsylvania - Acquisition of six vacant
 row houses in Center City from the Redevelopment Authority of Philadelphia for historic
 conversion to commercial and residential use. Equity in the project was $492,000 and renovation
 loan of $1.2 million. Redevelopment completed, a permanent loan of $1.4 million obtained and
 leasing of apartments, office and retail spaces undertaken.

 Warehouse Square Associates, Greenwich-Laight-Vestry Streets, New York, New York -
 Found and negotiated the acquisition for $11 million of a seven building parcel totaling 240,000
 sq. ft. on a 33,000 sq. ft. plot located in the Tribeca section of Manhattan just north of the World
 Trade Center/World Financial Center. General Partners of a limited partnership formed for the
 project through which $6,450,000 in equity was raised. Project managers for the renovation or
 sale of several of the buildings as residential units and for the leasing of the remaining space for
 warehousing, commercial and retail use (with more than $24 million in recognized value).

 The Chemist's Club, 52 East 41st Street, New York, New York - Located and, together with a
 British hotel group, acquired for $9,250,000 a 10 story building in the Grand Central District of
 Manhattan. The property was to be totally renovated to include new hotel rooms and
 meeting/eating facilities. The site was sold at a profit of several million dollars to another hotel
 group after interior demolition was undertaken and plans filed.

 Greenwich Carriage House, Greenwich Street between Spring and Canal Streets, New
 York, New York - A site was acquired at a cost of $1,575,000 for the construction of a multi-
 level garage. Equity of $2 million was raised for the project and the existing buildings were
 utilized for parking pending the issuance of a permit for the construction of the permanent
 facility. This permit was obtained, the first such grant in New York City for many years, and
 INDEVA reviewed the options under which the permanent facility would be operated and
 decided upon favorable sale for another redevelopment opportunity at a value in excess of double
 the acquisition price.

 Wellington Place, State Street, Albany, New York - This project involved the acquisition and
 demolition of five existing buildings on a site on the main commercial street of downtown
 Albany and the construction of a major office and retail building. INDEVA worked with local
 architects and advisors to develop a demolition and construction program acceptable to the
 planning and historic bodies and developed a pre-leasing program. The final Environmental
 Impact Statement was accepted and approvals obtained from the Albany Historic Resources
 Commission. Pre-leasing to the public and private sectors is being pursued.

 152-154 Franklin Street, New York, New York - A seven story 33,000 sq. ft. building in the
 heart of a landmark designated district of Tribeca was targeted for conversion to sixteen
 condominium residential and commercial units. INDEVA developed a unique approach which

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 permitted investors to acquire ownership of the unit of their choice at cost price and with their
 contributed equity available for the purchase. The investor/owner would be in a position to
 benefit from the use or rental of the units and from increases in market value.

 The Manhattan Club, New York, New York - The first timeshare project in New York City,
 located at 56th Street and Seventh Avenue. INDEVA has been a primary sales and marketing
 representative locally and internationally, including exclusive status in certain areas.

 Willow Lake Plantation, Warner-Robins, Georgia- INDEVA participated in formulating a
 Planned-Unit Development (P.U.D.) for a 3,000 acre agricultural property in Houston County
 that was acquired for some $5 million. Land sales and the development of commercial and
 residential properties have already created more than $10 million in value with much acreage still
 available.

 Sevensprings Centers, Haywood County, North Carolina- Mr. Etra is co-founder of a first
 facility, sited on 40 acres in the foothills of the Great Smoky Mountains, that will offer world-
 class programs and health services.

 Futerra, Franklin, Connecticut- INDEVA’s principal is one of three partners in the creation of
 a permanent international exhibition and accommodation project. The first phase is under way
 with the acquisition of 200 acres (for a total of more than $4 million) to be developed as
 recreational and hospitality accommodation. Future phases will bring the total project to values in
 excess of $1 billion.

 West End Hills of St. Croix- An INDEVA affiliate is the development manager of the first
 project, sited in the U.S. Virgin Islands, to establish in the Caribbean a lifestyles of health and
 sustainability (LOHAS) residential community anchored by a spa/wellness program center.

 B. Brokerage

 Starwood Urban Investments LLC- INDEVA proposed emerging areas within New York
 suitable for an acquisition program directed toward commercial and retail redevelopment.
 Particular properties were targeted and negotiations undertaken leading to purchases (at levels of
 up to $100 million), renovation and lease-up.

 The Trump Group, Miami, Florida- Continuing assistance in acquisitions of commercial and
 retail properties in New York City following the purchase of a significant commercial building on
 Park Avenue South.

 Charles Blaichman, New York, N.Y.- INDEVA is introducing properties and development
 opportunities to this active builder/developer.

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                                        OTHER ACTIVITIES:

 Projects involving acquiring or operating single properties as well as area-wide development
 represent a continuing real estate interest and focus of INDEVA and it colleagues within the U.S.
 as well as in Europe and Asia. Project development and management activities have also ranged
 from single purpose ventures to country-wide and regional efforts. Such efforts have included
 introducing concepts new to the particular marketplace (e.g. securitization, title insurance) as
 well as creating or implanting new entities or joint ventures.

 For further information, please contact Aaron Etra at INDEVA at 445 Park Avenue-9 th floor,
 ,New York City, 10022; tel. (212) 829-5565; fax (212) 472-4469; cell phone (917) 856-3500, E-
 mail: aaron@etra.com.




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